 Case 2:19-cr-00120-KM Document 96 Filed 09/14/20 Page 1 of 29 PageID: 1227




                        UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY


 UNITED STATES OF AMERICA
                                                       Crim. No. 19-120 (KM)
       v.

 GORDON J. COBURN and                               MEMORANDUM and ORDER
 STEVEN SCHWARTZ,                                     (Motions, DE 72 & 79)

                          Defendants.


      This Memorandum covers several motions submitted to the Court on
behalf of two defendants, Gordon J. Coburn and Steven Schwartz. Defendants
are accused of offenses committed in their capacities as Chief Legal Officer and
President of Cognizant Technology Solutions Corporation (“CTS” or
“Cognizant”). The submissions on the motions fall into two categories.
      The first category relates to a motion to compel discovery pursuant to
Federal Rule of Criminal Procedure 16, and for other miscellaneous relief:
            •   Motion to Compel Discovery, filed by Coburn (“R. 16 Brf.”, DE 79)
            •   Schwartz’s letter joining in Coburn’s motion (DE 80)
            •   Opposition to the motion, filed by the prosecution (“R. 16 Gov.
                Opp.”, DE 87)
            •   Reply in response to prosecution’s opposition, filed by Coburn (“R.
                16 Def. Reply”, DE 89)
      The second category relates to the issuance of third party subpoenas to
CTS and another company, Larsen & Toubro Construction (“LT”), pursuant to
Federal Rule of Criminal Procedure 17(c):
            •   Application for Ex Parte Issuance of Rule 17(c) Subpoenas, filed by
                Schwartz (DE 72)
            •   Application for Ex Parte Issuance of Rule 17(c) Subpoenas, filed by
                Coburn (DE 73)
     Case 2:19-cr-00120-KM Document 96 Filed 09/14/20 Page 2 of 29 PageID: 1228




            •   Opposition to these applications, filed by the prosecution (DE 76)
            •   Defendants’ joint reply to the prosecution’s opposition (DE 78)
         Part I of this Opinion covers the Rule 16 motion to compel discovery of
materials in the possession of the SEC. Part II covers the applications for
issuance of Rule 17(c) subpoenas to CTS and LT. Part III covers miscellaneous
requests contained within the Rule 16 motion.
I.       Rule 16 Motion: Materials in the possession of the SEC (DE 79)
            I assume for purposes of the analysis that the SEC may possess
materials related to the case. The question is whether the prosecution 1 has a
duty to review material possessed by the SEC and to produce any discoverable
material found therein.
            Of paramount importance is the prosecutors’ obligation to deliver
potentially exculpatory material to a criminal defendant. See U.S. v. Risha, 445
F. 3d 298, 303 (3d Cir. 2006); see generally Brady v. Maryland, 373 U.S. 83, 83
S. Ct. 1194 (1963); Giglio v. United States, 405 U.S. 150, 92 S. Ct. 763 (1972)
(extending disclosure obligation to include witness impeachment material).
This so-called Brady obligation applies most obviously to material within the
prosecutor’s possession, but also in some circumstances beyond that. For
example, prosecutors have “a duty to learn of any favorable evidence known to
the others acting on the government's behalf in the case . . . .” Kyles v. Whitley,
514 U.S. 419, 437, 115 S. Ct. 1555 (1995). Under certain circumstances,
Brady obligations apply to materials that the prosecution does not actually
possess or even know about, if it can be deemed to have constructive
possession. See Risha, 445 F. 3d at 303.
            In Risha, the Third Circuit discussed constructive possession of
evidence held by state authorities in connection with a federal prosecution for
arson. 2 Initially, the federal government and the state attorney general’s office


1     I use that terminology advisedly to avoid ambiguity. Both the SEC and the
Department of Justice, of course, are part of “the government.”
2      Although Risha specifically addressed the relationship between state and
federal governments, its logic has been applied in other cross-jurisdictional contexts.

                                           2
 Case 2:19-cr-00120-KM Document 96 Filed 09/14/20 Page 3 of 29 PageID: 1229




jointly investigated the arson. Id. at 302. At the federal trial, the government
called a witness who had been charged with both a state firearms charge and a
federal arson charge. Id. at 299. He testified that he did not receive any special
treatment with respect to the state charge in exchange for testifying on the
federal charge. Id. at 300. In reality, it appears that the witness did in fact
receive special treatment. Id. at 299. Although the federal government did not
have actual knowledge of any such arrangement, the Third Circuit considered
whether the government had constructive knowledge of it. If so, said the court,
the government should have provided this impeachment evidence to the
defense. Id. at 302.
          The court then laid out three factors to be considered when evaluating
constructive knowledge:
         [(1) W]hether the party with knowledge of the information is
      acting on the government's “behalf” or is under its “control”; (2) the
      extent to which state and federal governments are part of a “team,”
      are participating in a “joint investigation” or are sharing resources;
      and (3) whether the entity charged with constructive possession
      has “ready access” to the evidence.
Id. at 304.
          Here, the defendants’ argument focuses on the second Risha
factor; they assert that the prosecution and the SEC jointly investigated
their alleged crimes. They cite two cases from the U.S. District Court for
the Southern District of New York in which the court concluded that the
SEC and USAO/DOJ did engage in a joint investigation. The first, U.S. v.
Gupta, required the government to search SEC materials created during
joint fact-gathering for potential Brady material. 848 F. Supp. 2d 491,
494-495 (S.D.N.Y. 2012). That obligation applied even though the


See, e.g., United States v. Holovacko, 781 F. App’x 100, 105 (3d Cir. 2019) (applying
Risha factors to possession of evidence by a business); United States v. Reyeros, 537 F.
3d 270, 283-285 (3d Cir. 2008) (applying Risha factors to possession of evidence by a
foreign government). The court in Reyeros did note that evidence held by a foreign
government might actually present more sensitive and demanding considerations than
those embodied in the Risha factors, but proceeded to apply the Risha factors as a
threshold question. Id. at 283.

                                           3
 Case 2:19-cr-00120-KM Document 96 Filed 09/14/20 Page 4 of 29 PageID: 1230




criminal prosecution and the remainder of the investigation diverged in
other respects. In Gupta, the DOJ and SEC jointly interviewed fourty-
four witnesses; in the course of those interviews, representatives of both
agencies asked questions. The SEC’s personnel did not take notes during
the interviews, but prepared post-interview summaries in consultation
with the DOJ. Id. The prosecution was deemed to be in constructive
possession of the SEC’s post-interview memoranda for purposes of its
discovery obligations. Id. at 493-494.
         The second case cited by Defendants is U.S. v. Martoma, 990 F.
Supp. 2d 458 (S.D.N.Y. 2014). There, the court ordered submission of
affidavits regarding the extent of cooperation between the SEC and
USAO. It found that the two agencies jointly interviewed twelve witnesses
and discussed between themselves the evidence obtained as a result of
their parallel investigations. Id. at 460-462. There, however, the concerns
raised by the defense were not general or exploratory, but quite specific.
The defendant knew that one of the prosecution’s witnesses had made
contradictory statements, and the motion was targeted to evidence of
such statements in the possession of the SEC. Id. at 462. Here,
Defendants do not point to any specific, discoverable evidence they
expect the SEC possesses.
         Finally, Defendants cite an order from this district in United
States v. Blumberg, No. 14-cr-458 at DE 69 (D.N.J. March 23, 2015). In
that case, Judge Linares concluded that the DOJ prosecutors and the
SEC had pursued a joint investigation, chiefly because they jointly
conducted over forty witness interviews and coordinated document
requests from third parties. Id. at 5-6. The response to that finding of
cooperation, however, was not to throw open all SEC files. The court,
citing Gupta, held the prosecution responsible only for reviewing the
documents arising from those specific joint efforts. Id. at 6. The court




                                         4
 Case 2:19-cr-00120-KM Document 96 Filed 09/14/20 Page 5 of 29 PageID: 1231




denied the request to compel documents in the SEC’s possession that fell
outside the scope of the joint portion of fact gathering. Id. at 7.
          The principle that emerges from these cases is this: For
discovery purposes, the prosecution is deemed to be in constructive
possession of SEC materials arising from the particular components of
the investigation that were conducted jointly.
          Defendants argue that the prosecution and SEC did engage in a
joint investigation here. That contention is primarily based on the SEC
agents’ presence during about half of the prosecution’s interviews of
Cognizant employees. Defendants also cite the press releases announcing
the indictments, in which the prosecution praised the SEC’s “significant
cooperation.” (In its press release announcing its civil action against
Cognizant, the SEC reciprocally praised the prosecution’s “assistance.”)
(R. 16 Brf. at 6). Finally, the prosecution acknowledges in its opposition
to the motion that the SEC attended some of the meetings between the
prosecution and Cognizant, during which Cognizant’s counsel imparted
information about the company’s internal investigation. (R. 16 Gov. Opp.
at 10 n. 4).
          The prosecution responds that its own investigation and that of
the SEC were separate, if parallel. Factually, the prosecution’s argument
is that, although SEC personnel attended thirteen of its twenty-four
witness interviews, SEC personnel did not ask questions or take their
own notes. Nor did they participate in any way in the prosecution’s
decision-making process and grand jury activities. Legally, the
prosecution’s argument is two-fold. First, it argues that Blumberg
misapplied Risha; constructive possession, says the prosecution, exists
only when all three Risha factors are found. Second, it argues that this
case is factually distinguishable from the SDNY cases cited by the
Defendants. The prosecution cites a number of cases, also principally
from the SDNY, holding that an agency’s participation in witness
interviews was not sufficient to render an investigation joint.

                                         5
    Case 2:19-cr-00120-KM Document 96 Filed 09/14/20 Page 6 of 29 PageID: 1232




           Initially, I do not agree that all three Risha factors need be
present to support a finding of constructive possession. Risha does not
mandate such a rigid ticking of boxes; rather, the factors are intended to
guide a more flexible “case-by-case analysis.” 445 F. 3d at 306. 3 If the
prosecution’s view were accepted, the DOJ might closely partner with the
SEC yet ignore potentially exculpatory material in the possession of the
SEC, so long as it did not directly order the SEC to do anything. The
Risha factors, I think, are intended to guide a more general inquiry into
whether the two worked so closely that the prosecution may be deemed
to be in constructive possession of the materials gathered by the agency.
           The parties seem to agree that the most critical Risha factor
here is the second, i.e., the extent to which the two authorities were part
of a “team” or conducted a “joint investigation.” Even some joint fact
gathering, says the prosecution, is not enough to support an inference of
a joint investigation. The Third Circuit did not deeply analyze this factor
in Risha, since it remanded to the district court for more fact-finding.
445 F. 3d at 305. The Court of Appeals did emphasize, however, that an
important consideration is whether the two agencies had “a close
working relationship.” See id. And Judge Linares, contrary to the
prosecution’s position here, expressly stated in Blumberg that, to
determine if parallel investigations are joint, “it is enough that the
agencies are engaged in joint-fact gathering . . . .” No. 14-cr-00458 at DE
69 at 5 (quoting Gupta, 848 F. Supp. at 494).

3       The first, “control” factor, for example, would tend to swallow the others if
applied as an independent prerequisite. It is hard to imagine a case where the agency
was taking orders from the prosecution, satisfying factor 1, but the two were not
acting “jointly” for purposes of factor 2; the reverse, however, is not necessarily the
case. Defendants do argue in their reply brief that the SEC was acting at the behest of
the prosecution. The basis for the argument is slim—they speculate, for example, that
if the SEC did not ask questions or take notes at the interviews, the reason must have
been that the prosecution did not permit it. (R. 16 Def. Reply at 6-7). That is not
nearly enough to support a finding that the SEC acted at the government’s direction. I
am also wary of the self-proving argument that an agency’s non-participation, too,
must be taken as evidence that it was acting hand-in-glove with the prosecution.

                                           6
    Case 2:19-cr-00120-KM Document 96 Filed 09/14/20 Page 7 of 29 PageID: 1233




           There will be borderline cases, and the issue is one of degree.
Nevertheless, I accept that joint fact gathering may be enough to
establish constructive possession. That there was some joint activity,
however, does not render the entire investigation a joint effort.
Constructive possession should be confined to the particular facts and
materials that were gathered in joint fashion. Where such materials exist
and are in the possession of the prosecution’s investigative partner, the
prosecution is deemed to constructively possess them and is required to
review them for discoverability. 4
           As to the third Risha factor, the prosecution argues it does not
have ready access to the files because the SEC is a separate agency. The
prosecution admits it could simply ask the SEC for these files, but does
not appear to have done so. (R. 16 Gov. Opp. at 17). Both are agencies of
the federal government, and they have concededly cooperated when it
suited them. 5 The prosecution is correct that the mere possibility of
obtaining access, standing alone, does not amount to constructive
possession. Nevertheless, where the context is one of cooperation, this
factor does tend to support an inference of constructive possession.
           The prosecution is correct that the facts, as it has presented
them, fall short of those in the cases cited by Defendants. The SEC sat in
on about half of the interviews, but there is no current indication that it
played any role in the selection of the interviewees, the selection of
questions, the questioning itself, or the prosecution’s analyses of the
results. Moreover, the efficiency rationale for permitting the SEC to


4       As noted above, the prosecution argues that the Risha factors are independent
requirements. In the alternative, however, the prosecution suggests that the second,
joint fact-gathering factor is negated or diminished by the other Risha factors. I have
considered the other factors, but I find they do not outweigh the conclusion that there
is sufficient evidence of joint fact-gathering to require a hearing.
5      Distinctions among branches and agencies of the federal government are, of
course, real. Still, this case does not require us to consider the dignity of separate
sovereigns, as in Reyeros, supra n. 1, or even Risha itself.

                                            7
 Case 2:19-cr-00120-KM Document 96 Filed 09/14/20 Page 8 of 29 PageID: 1234




attend such sessions is obvious, and it does not depend on the existence
of a joint investigation. It would exalt form over substance—and would
perhaps ask too much of citizen witnesses—to require that the
prosecution conduct its interviews alone, leaving the SEC to re-summon
the same witnesses for questioning on the same subjects.
          The prosecution cites U.S. v. Collins, 409 F. Supp. 3d 228, 241
(S.D.N.Y. 2019), which held that joint interviews did not suffice to
establish that there was a joint investigation. That holding, however, also
rested on other factors prescribed by Second Circuit precedent, which
places an emphasis on whether the SEC participated in the more
prosecutorial aspects of the case. As in our case, however, the SEC did
not have any notes or reports of the joint interviews, and had
participated in only some of the interviews (sixteen of sixty), which were
all arranged by the DOJ. Id.
          Defendants request in their reply brief an evidentiary hearing to
determine the extent of the cooperation between the prosecution and
SEC. I agree that there remain questions of fact. The prosecution denies
that certain joint steps were taken, but does not provide a comprehensive
explanation as to what kind of cooperation there was. The admission that
the SEC attended meetings with Cognizant counsel and the press
release’s praise of “significant cooperation”—perhaps a bit of interagency
diplomacy, but perhaps not— provide enough of a basis for inquiry into
whether there was more to the relationship than the SEC’s merely sitting
in on witness interviews. I have not concluded on this record that the
prosecution does in fact have constructive possession of materials the
SEC might have, or indeed that the SEC possesses responsive materials
at all. Assuming that there is responsive material, it is not within the
prosecution’s constructive possession unless it falls within the scope of
the joint aspects of the investigation. And if it fell within that scope, it




                                          8
    Case 2:19-cr-00120-KM Document 96 Filed 09/14/20 Page 9 of 29 PageID: 1235




must be produced only if it is discoverable for some reason. The issue
here is merely whether the prosecution is obligated to look. 6
           In short, I will grant the defense’s request for an evidentiary
hearing to determine the extent of the investigative cooperation between
the prosecution and the SEC. As in the case of an ordinary suppression
hearing, the prosecution and not the defense is in possession of most of
the relevant facts. I anticipate that such a hearing would be relatively
brief; it shall not explore the entirety of the investigation, but shall be
confined to the relevant issues as identified above. Within five days,
counsel shall confer as to the identity and number of witnesses and
report the results of such discussions in a filed joint letter, which shall
also propose three alternative dates for a hearing. Subject to any
objection any party may wish to make and conditions at the time, the
hearing will be held by video. 7
II.     Rule 17 Motion: Subpoenas to CTS and LT (DE 72)
        A. Standards and summary of ruling
        Schwartz’s motion for Rule 17 subpoenas is more comprehensive than
Coburn’s, so I use it as a vehicle for the analysis. 8 Here, the issue is not


6      Of course, should the prosecution simply obtain the material, review it for
discoverability, and produce discoverable items, that might place the matter on a
different footing. The SEC materials would then be in the actual, not constructive,
possession of the prosecution and would be subject to the usual discovery rules and
procedures.
7      The U.S. District Court for the District of New Jersey, like the rest of the nation,
has had to adjust to the COVID-19 pandemic. Among other things, the Chief Judge of
the Court has declared what amounted to an extended continuance of deadlines in
criminal matters. Thankfully, conditions have eased in our State, seemingly as a result
of widespread restrictions on personal contact. To relax such restrictions, however,
would surely risk a second wave of infections, and no cure or vaccine appears to be in
our short-term future. Under the circumstances, I will not compel personal
appearances unless strictly necessary. I have proposed video evidentiary hearings on
certain of these pretrial matters, because I believe they may be conducted by video
without harm to the interests of justice. Trial, of course, may present a separate set of
constitutional and practical issues.
8     Coburn’s Rule 17 subpoenas seek substantially the same items relating to the
“outsourcing” issue and the DOJ/CTS & LT investigation. Coburn does not seem to be

                                            9
    Case 2:19-cr-00120-KM Document 96 Filed 09/14/20 Page 10 of 29 PageID: 1236




cooperation between the prosecution and an executive branch agency, but
rather cooperation between the prosecution and a private company.
        Schwartz requests that trial subpoenas, with a pretrial return date, be
issued to Cognizant, which is his former employer, and also to Larsen &
Toubro Construction (LT), a different company involved in the case. 9 Schwartz’s
requests fall into two categories: (a) documents relating to the prosecution’s
role in CTS’s and LT’s internal investigations, and (b) documents relating to
evidence of Schwartz’s culpability generally. (I refer to these as “category (a)”
and “category (b).”) This opinion focuses on category (a). Schwartz’s argument
for the relevance of the documents in category (a) builds off the case of United
States v. Connolly, Crim. No. 16-370, 2019 WL 2120523 (S.D.N.Y. May 2,
2019). There, Chief Judge McMahon found that the government had effectively
outsourced its investigation to a company and its law firm. That in itself would
not necessarily have been an issue, except that the defendant had been
compelled to sit for an interview by the company, his employer. 10
        Interviews by an employer under the implicit compulsion of “cooperate or
be fired” can be suppressed as involuntary under Garrity v. New Jersey, 385
U.S. 493, 87 S. Ct. 616 (1967). In Garrity the employer was the State, so any
compulsion would have been state compulsion, triggering a suppression


seeking the same scope of documents relating to the underlying offense (category (b),
see infra), that Schwartz is.
9      L&T is a company independent of Cognizant, which allegedly acted as a conduit
for the bribe and was reimbursed by Cognizant.
10     Coburn adds that certain of the subpoena requests are “essential to evaluating
whether the companies’ cooperation with the government implicates the government’s
Brady obligations.” (DE 73 at 8). The implication seems to be that because the
government “outsourced” its investigation to the companies, the companies hid
potentially exculpatory information not only from the Defendants, but from the
government itself. The hearings ordered by the Court here may alter the picture as to
the “outsourcing” claim. As things stand, however, Defendants have not made any
threshold showing that the prosecution failed in its Brady obligations, and the
prosecution is not generally answerable under Brady for facts and documents that
were concealed from it by third parties. Nor can the limits on Rule 16 disclosure be so
easily circumvented by subpoenas “just to check.”



                                          10
 Case 2:19-cr-00120-KM Document 96 Filed 09/14/20 Page 11 of 29 PageID: 1237




remedy under the Fifth and Fourteenth Amendments. Where, as here, a private
employer conducted the interview, there is another step to the analysis; under
the Second Circuit’s approach, statements obtained in a coerced interview may
be suppressed only if the interview is “fairly attributable” to the government.
Connolly, 2019 WL 2120523 at 10–11 (citing United States v. Stein, 541 F.3d
130, 152 n.11 (2d Cir. 2008)). But, as Connolly made clear, “it is not enough
under Garrity that [the company’s] investigation was generally fairly
attributable to the prosecution. The [Company’s] interviews of [the defendant]
must have been Government-engineered interviews.” 2019 WL 2120523 at *12.
      To obtain suppression, Schwartz (and likewise Coburn) would first need
to show that the prosecution directed or “engineered” his employer’s interview
of himself in particular. Second, he would have to demonstrate that the
interview was coerced in the Garrity sense of “submit or be fired.” Any such
coercion argument must deal with the fact that Schwartz and Coburn were no
ordinary employees, but the Chief Legal Officer and President of CTS. Finally,
he would need to identify self-incriminating statements during such an
interview that the prosecution would seek to introduce in evidence or (perhaps)
otherwise exploit. 11
      Thus far, Schwartz has not made a showing akin to the fairly extreme
facts in Connolly—i.e., that the prosecution actually outsourced its
investigation, let alone that it engineered Cognizant’s interview of him. He
refers, for example, to CTS’s having shared its 100,000 search terms with and
provided its interview notes to the government. That falls far short of any


11     I focus here on Garrity and Connolly themselves and the suppression of the
defendants’ statements. Schwartz does mention “testimonial concerns,” citing Kastigar
v. United States, 406 U.S. 441 (1972) (requiring government to demonstrate that its
evidence was not “tainted” by the exploitation of immunized testimony). In Connolly, as
it happened, the Court found clear evidence of outsourcing, but did not require a
further hearing because the outsourcing had not tainted the remainder of the
investigation in the Kastigar sense. Here, the defense desires a hearing on
outsourcing, and one senses some strategy in the soft-pedaling, for now, of the
Kastigar aspect. Because I have a less complete record than the one that was before
Judge McMahon, I will convene a hearing on the outsourcing itself.

                                          11
 Case 2:19-cr-00120-KM Document 96 Filed 09/14/20 Page 12 of 29 PageID: 1238




scenario whereby CTS acted as a cat’s paw for the government. As to LT, the
relevance is unclear; Schwartz was not an employee of LT and it never
interviewed him.
       Rule 17 is not a pretrial discovery device. The general test for Rule 17
subpoenas involves relevance, admissibility, and specificity. Even assuming
that there is some statement potentially subject to suppression, the subpoena
requests are facially overbroad, and substantially so. Schwartz is trying to
compel production of basically all the fruits of CTS’s investigation, as well as its
cooperation with the government.
       In summary, I will place these subpoenas on a double track:
       (a) I will grant the issuance of trial subpoenas relevant to the narrow
            issue of investigative “outsourcing,” as it relates to a potential pretrial
            motion for suppression of coerced statements of Coburn and
            Schwartz. (These would fall within the “category (a)” requests.) I will,
            however, require that they be narrowed and made the subject of a
            separate subpoena.

       (b) I will deal with the far broader requests for information and evidence
            relating to the merits of the case (category (b), infra) in a separate
            opinion, on a sealed basis as appropriate, to avoid revealing trial
            strategy. Category (b) I regard as far more relevant to the gathering of
            evidence for trial.
       This two-track strategy has the advantage of permitting issues relating to
any suppression motion to be severed and poised for decision well in advance
of trial.

       B. Discussion
            1. Prosecution’s standing to oppose the motion
       Defendants argue most broadly that they must be given free rein,
because the prosecution lacks standing to oppose the issuance of third-party
subpoenas. Neither side cites Third Circuit authority that is directly on point. I


                                           12
 Case 2:19-cr-00120-KM Document 96 Filed 09/14/20 Page 13 of 29 PageID: 1239




note that in Blumberg, supra, Judge Linares allowed the defendants to serve
the subpoena on the third party, with the expectation that it would file a
motion to quash.

      Rule 17 states that the court may quash or modify a subpoena “upon
motion.” Fed. R. Crim. P. 17(c)(2). There is no explicit authorization for a court
to do so sua sponte. I do not accept, however, that my hands are tied. The
Court has an upstream responsibility, not merely to quash an overbroad
subpoena, but to ensure that a Rule 17 subpoena is properly issued in the first
place. See generally Bowman Dairy v. United States, 341 U.S. 214, 221 (1951).
That is particularly the case where the subpoena is not issued in aid of the
presentation of evidence at trial, but rather is sought in aid of pretrial motions
which are themselves still at the hypothetical stage. I will police the use of the
Court’s processes for overbreadth or abuse.
      The prosecution cites a case from the Western District of Virginia which
allowed the government to oppose a subpoena prior to issuance. The argument
there was not that the government had the right to file a motion to quash a
third-party subpoena per se. Rather, the government was afforded the right to
be heard in connection with a motion for issuance of subpoenas, as it would be
heard in connection with almost any motion in a criminal case. See United
States v. Modi, 2002 WL 188327 at *1 (W.D. Va. Feb. 6, 2002). I will consider
the prosecution’s argument, or indeed anything else, to the extent I find it
persuasive.
      On balance, I think it is fair to perform at least a preliminary analysis of
the scope of the subpoena. As to that issue, the Court’s oversight function is
critical; I will not, to borrow Defendants’ terminology, outsource it to the
companies being subpoenaed. That said, it may be that the subpoenaed parties
will have their own additional arguments to make on a motion to quash.
Claims of privilege, for example, belong to the subpoenaed party, and indeed
may be waived if not asserted. I will not anticipate such arguments.




                                        13
 Case 2:19-cr-00120-KM Document 96 Filed 09/14/20 Page 14 of 29 PageID: 1240




         2. Whether the motion can be considered ex parte
         Schwartz argues that the application must be considered ex parte,
because revealing the requests to the prosecution in unredacted form will
reveal his trial strategy. With respect to the category (a) requests, I disagree. As
to matters expected to be the subject of contested pretrial motions, there is no
basis to draw a pretrial veil. In short, there are or soon will be no secrets here.
However, as to the category (b) requests, which relate more directly to obtaining
evidence for a defense at trial, I do see the sense of Schwartz’s argument. These
will be dealt with at the proper time in a separate opinion, on a sealed basis as
appropriate.
         Schwartz cites a few cases supporting the ex parte approach. He did,
however, generally inform the prosecution of the plan to request the
subpoenas, while redacting specific information relevant to his defense. The
prosecution agrees that ex parte treatment may be afforded to protect trial
strategy, but notes that in some of the cited cases only targeted confidentiality
was granted. It also requests that Schwartz produce copies of any evidence
produced in response to the subpoenas.
         I will not disturb the defendants’ redaction of the category (b) requests,
the structure of which might reveal trial strategies. The category (a) documents
required to be produced pursuant to this Opinion and Order shall be furnished
to the Court on a date to be set, and will be shared on an equal basis with both
sides.
         3. Whether issuance of pretrial subpoenas should be granted
         As noted, I focus here on the category (a) requests. Rule 17(c) subpoenas
cannot be used as a vehicle for general pretrial discovery. See United States v.
Eisenhart, 43 F. App’x 50, 505 (3d Cir. 2002). “Courts must be careful that
Rule 17(c) is not turned into a broad discovery device, thereby undercutting the
strict limitation of discovery in criminal cases found in Fed. R. Crim. P. 16.” US
v. Cuthbertson, 630 F. 2d 139, 146 (3d Cir. 1980).


                                          14
 Case 2:19-cr-00120-KM Document 96 Filed 09/14/20 Page 15 of 29 PageID: 1241




       The parties generally agree that the test articulated by the Supreme
Court in Nixon applies to Rule 17 subpoenas. Schwartz cites stray authority to
the effect that a lower burden could apply, but no court in this Circuit has yet
held that. See, e.g., United States v. Onyenso, Civ. No. 12-602, 2013 WL
5322651 at *2 (D.N.J. Sept. 13, 2013).
       The Nixon test is as follows:
       (1) that the documents are evidentiary and relevant; (2) that they
       are not otherwise procurable reasonably in advance of trial by
       exercise of due diligence; (3) that the party cannot properly prepare
       for trial without such production and inspection in advance of trial
       and that the failure to obtain such inspection may tend
       unreasonably to delay the trial; and (4) that the application is
       made in good faith and is not intended as a general ‘fishing
       expedition.’

United States v. Nixon, 418 U.S. 683, 699–700 (1974). Those requirements may
be shorthanded as “(1) relevancy; (2) admissibility; [and] (3) specificity.” Id. at
700.
       In general, Schwartz has made a strong enough argument to require
production of some category (a) documents in advance of a hearing on a
potential motion to suppress. They are (1) relevant to the “outsourcing” issue
and there is reason to believe they would be (2) admissible in a hearing on a
potential motion to suppress defendants’ statements in interviews. As for (3)
availability, Schwartz requested the outsourcing documents from the
prosecution, which responded that they were not discoverable. For material in
the sole possession of corporate third parties, there appears to be no other
reasonable avenue of access aside from the subpoena process. I note also that
Schwartz has attempted to avoid redundancy, requesting items only “to the
extent not produced to the USAO or DOJ” already. Finally, given the category
(a) material’s potential relevance to an identified pretrial motion, it makes sense
to place it on a separate pretrial track.




                                            15
 Case 2:19-cr-00120-KM Document 96 Filed 09/14/20 Page 16 of 29 PageID: 1242




      4. “Relevance” of category (a) limited to a Garrity motion to
         suppress

      “Relevance” for these purposes means relevance to a potential Garrity
motion to suppress the coerced statements of Schwartz or Coburn. I therefore
focus on accelerated, pretrial production of category (a) items germane to such
a hearing. 12 Of course any direct command that one defendant or the other be
interviewed would be most relevant, but I will also allow some breathing room
for the surrounding context. I repeat, for clarity, that subpoenas for a broader
range of documents may be appropriate in connection with obtaining evidence
for a defense at trial.
      I will require the defense to narrow the category (a) subpoenas as follows,
in each instance with the agreed carve-out for documents that are already in
the possession of the prosecution. 13
             a. Cognizant Subpoena
 Request Request                                    Ruling
 #
 1.         Communications between DOJ              Further limited to
            and CTS regarding searching for,        communications related to
            identifying, and/or producing           the investigation and
            information concerning the subject      interview of Schwartz.
            matter of the Allegations [in the
            indictment], including but not
            limited to:
            a. The collection and/or review of
            documents by CTS in connection
            with any voluntary production by
            CTS to DOJ;
            b. The collection and/or review of
            documents by CTS in response to
            DOJ document requests and/or
            subpoenas;


12    Counsel are also directed, however, to Rule 17(h) and 26.2, governing
impeachment material for witnesses.
13     For convenience, this section discusses Schwartz’s subpoena requests. Coburn
shall make similar alterations to his parallel subpoena requests.

                                         16
Case 2:19-cr-00120-KM Document 96 Filed 09/14/20 Page 17 of 29 PageID: 1243




          c. The parameters of and
          responses to such requests and/or
          subpoenas; and
          d. Communications regarding
          search terms, date ranges, and/or
          custodians.
2.        Memoranda of, and                      Further limited to
          communications between DOJ and         communications related to
          CTS pertaining to, CTS and/or          the investigation and
          government interviews of CTS           interview of Schwartz.
          employees concerning the subject
          matter of the Allegations, including
          but not limited to:
          a. Guidance or instructions of any
          kind, whether oral or written,
          provided by DOJ as to the timing
          of, substance of, or participants in
          CTS and/or government
          interviews, including notes,
          questions, or talking points
          provided to CTS to be used in
          connection with CTS interviews;
          b. Communications,
          correspondence or representations
          of any kind provided to DOJ
          concerning the substance of
          communications between CTS and
          its employees regarding CTS
          and/or government interviews,
          including any communications to
          employees, oral or written,
          regarding whether and how
          employees were encouraged or
          compelled to participate, as well as
          the dates on which CTS provided
          such information to DOJ; and
          c. Memoranda, notes, or other
          communications of any kind from
          CTS to DOJ reporting the
          substance of CTS interviews, or
          memoranda, notes, or other
          communications of any kind on
          which CTS relied in orally

                                      17
Case 2:19-cr-00120-KM Document 96 Filed 09/14/20 Page 18 of 29 PageID: 1244




          reporting to DOJ the substance of
          CTS interviews, including any
          conclusions, opinions, or
          credibility assessments regarding
          such interviews, as well as the
          dates on which CTS provided such
          information to DOJ.
3.        All written CTS policies, whether      No additional limitation.
          in draft or final form, including
          but not limited to compliance
          policies, concerning employee
          cooperation with or participation
          in CTS and/or government
          investigations.
4.        Communications between CTS and         4(a) and (b) further limited to
          its employees regarding CTS            communications related to
          and/or government interviews           the investigation and
          concerning the subject matter of       interview of Schwartz.
          the Allegations, including but not     4(c) rejected.
          limited to:
          a. Communications from CTS
          encouraging or compelling or
          otherwise addressing employee
          cooperation with or participation
          in such investigations;
           b. Talking points or other notes
          prepared by counsel for CTS for
          any executive, officer, director, or
          counsel (in-house or outside) in
          connection with any
          communication with any employee
          concerning the CTS and/or
          government investigations,
          including but not limited to talking
          points or other notes prepared for
          Francisco D’Souza in connection
          with D’Souza’s communications
          with Steven Schwartz in August
          2016; and
          c. Documents provided to CTS
          employees during such CTS
          and/or government interviews.



                                     18
Case 2:19-cr-00120-KM Document 96 Filed 09/14/20 Page 19 of 29 PageID: 1245




5.        Communications or other               Further limited to
          documents relating to findings        communications from CTS to
          from CTS investigations provided      DOJ regarding to the
          to DOJ by CTS concerning the          investigation and interview of
          subject matter of the Allegations,    Schwartz.
          including but not limited to:
          a. Presentations to DOJ or notes of
          such presentations;
          b. Communications or other
          documents containing legal
          and/or factual analysis; and
          c. Communications or other
          documents pertaining to proffers,
          as well as a list of the dates,
          locations, and attendees (whether
          in person or remote) of any such
          proffers.
6.        Communications between DOJ            6(a) further limited to
          and CTS pertaining to the subject     communications related to
          matter of the Allegations and         the investigation and
          CTS’s cooperation with DOJ,           interview of Schwartz.
          including but not limited to:
           a. Communications between DOJ
                                                6(b) rejected.
          and CTS pertaining to CTS’
          continued cooperation with DOJ
          following CTS’ agreement to
          “continue to fully cooperate in the
          Department’s ongoing
          investigations and any
          prosecutions that might result,” as
          reflected in the February 13, 2019
          declination letter from DOJ to
          CTS; and
          b. Agreements between DOJ and
          Francisco D’Souza, P Ganesh,
          Biswajit Ghosh, Raj Ghosh, Dana
          Gilbert, Lakshmi Narayanan,
          Karen McLoughlin,
          Srimanikandan Ramamoorthy,
          Chandra Sekaran, and/or Sridhar
          Thiruvengadam.



                                     19
Case 2:19-cr-00120-KM Document 96 Filed 09/14/20 Page 20 of 29 PageID: 1246




7.        Communications between DOJ           Further limited to
          and CTS pertaining to the            communications related to
          statement of facts in the February   the investigation and
          13, 2019 declination letter from     interview of Schwartz.
          DOJ to CTS and/or the February
          15, 2019 United States Securities
          and Exchange Commission Order,
          all drafts thereof, and all
          communications pertaining to
          revisions of all such drafts.
8.        Communications between DOJ           Rejected. Scope of privilege
          and CTS pertaining to the scope of   has no bearing on whether
          attorney-client privilege, work      Schwartz was coerced, or
          product protection, and/or the       more broadly on whether the
          crime-fraud exception applied by     investigation was outsourced.
          CTS in producing materials to        Any claim of privilege must
          DOJ concerning the subject matter    await assertion by the
          of the Allegations, including but    subpoena recipient.
          not limited to all communications
          pertaining to the scope of
          materials required or not required
          to be included on privilege logs
          provided to DOJ.
9.        Communications between DOJ           Rejected. Scope of privilege
          and CTS pertaining to the            has no bearing on whether
          agreement between DOJ and CTS        Schwartz was coerced, nor
          dated October 6, 2016 regarding      more broadly, whether the
          the confidentiality and privilege    investigation was outsourced.
          status of materials CTS provided     Any claim of privilege must
          to DOJ, including but not limited    await assertion by the
          to communications concerning         subpoena recipient.
          determinations as to which
          materials were or were not within
          the scope of such agreement, and
          how and by whom such
          determinations were to be made.
10.       Communications between DOJ           Rejected. See # 8, supra.
          and CTS pertaining to the
          agreement between DOJ and CTS
          concerning Federal Rule of
          Evidence 502(e) dated April 26,
          2018 and/or the court order
          pursuant to Federal Rule of
          Evidence 502(d) dated April 30,

                                    20
Case 2:19-cr-00120-KM Document 96 Filed 09/14/20 Page 21 of 29 PageID: 1247




          2018, including but not limited to
          communications concerning the
          terms of such agreement,
          determinations as to which
          materials were or were not within
          the scope of such agreement
          and/or order, and how and by
          whom such determinations were to
          be made.


          b. LT Subpoena
Request Request                                       Ruling
#
1.        Correspondence, other than production       Further limited to
          cover letters, between L&T Construction     communications related
          and DOJ concerning the subject matter       to the investigation and
          of the Allegations [in the indictment].     interview of Schwartz.
2.        Communications between DOJ and L&T          Further limited to
          Construction regarding searching for,       communications related
          identifying, and/or producing               to the investigation and
          information concerning the subject          interview of Schwartz.
          matter of the Allegations, including but
          not limited to:
          a. The collection and/or review of
          documents by L&T Construction in
          response to DOJ document requests
          and/or subpoenas;
          b. The parameters of and responses to
          such requests and/or subpoenas; and
          c. Communications regarding search
          terms, date ranges, and/or custodians.
3.        Communications between DOJ and L&T          Rejected. Any claim of
          Construction pertaining to the scope of     privilege must await
          attorney-client privilege, work product     assertion by the
          protection, and/or the crime-fraud          subpoena recipient.
          exception applied by L&T Construction
          in producing materials to DOJ
          concerning the subject matter of the
          Allegations, including but not limited to
          all communications pertaining to the
          scope of materials required or not


                                     21
Case 2:19-cr-00120-KM Document 96 Filed 09/14/20 Page 22 of 29 PageID: 1248




          required to be included on privilege logs
          provided to DOJ.
4.        Memoranda of, and communications            Further limited to
          between DOJ and L&T Construction            communications related
          pertaining to, L&T Construction and/or      to the investigation and
          government interviews of L&T                interview of Schwartz.
          Construction employees concerning the
          subject matter of the Allegations,
          including but not limited to:
          a. Guidance or instructions of any kind,
          whether oral or written, provided by DOJ
          as to the timing of, substance of, or
          participants in L&T Construction and/or
          government interviews, including notes,
          questions, or talking points provided to
          L&T Construction to be used in
          connection with L&T Construction
          interviews;
          b. Communications, correspondence or
          representations of any kind provided to
          DOJ concerning the substance of
          communications between L&T
          Construction and its employees
          regarding L&T Construction and/or
          government interviews, including any
          communications to employees, oral or
          written, regarding whether and how
          employees were encouraged or
          compelled to participate; and
          c. Memoranda, notes, or other
          communications of any kind from L&T
          Construction to DOJ reporting the
          substance of L&T Construction
          interviews, or memoranda, notes, or
          other communications of any kind on
          which L&T Construction relied in orally
          reporting to DOJ the substance of L&T
          Construction interviews including any
          conclusions, opinions, or credibility
          assessments regarding such interviews,
          as well as the dates on which L&T
          Construction provided such information
          to DOJ.


                                     22
Case 2:19-cr-00120-KM Document 96 Filed 09/14/20 Page 23 of 29 PageID: 1249




5.        All written L&T Construction policies,   No additional limitation
          whether in draft or final, including but required.
          not limited to compliance policies,
          concerning employee cooperation with or
          participation in L&T Construction
          and/or government investigations.
6.        Communications between L&T                     6(a) & (b) further
          Construction and its employees                 limited to
          regarding L&T Construction and/or              communications related
          government interviews concerning the           to the investigation and
          subject matter of the Allegations,             interview of Schwartz.
          including but not limited to:
          a. Communications from L&T                6(c) rejected.
          Construction encouraging or compelling
          or otherwise addressing employee
          cooperation with or participation in such
          investigations;
          b. Talking points or other notes prepared
          by counsel for L&T Construction for any
          executive, officer, director, or counsel
          (in-house or outside) in connection with
          any communication with any employee
          concerning in any way the L&T
          Construction and/or government
          investigations; and
          c. Documents provided to L&T
          Construction employees during such
          L&T Construction and/or government
          interviews.
7.        Communications or other documents              Further limited to
          relating to findings from L&T                  communications related
          Construction’s investigations provided to      to the investigation and
          DOJ by L&T Construction concerning             interview of Schwartz.
          the subject matter of the Allegations,
          including but not limited to:
          a. Presentations to DOJ or notes of such
          presentations;
          b. Communications or other documents
          containing legal and/or factual analysis;
          and
          c. Communications or other documents
          pertaining to proffers, as well as a list of

                                       23
 Case 2:19-cr-00120-KM Document 96 Filed 09/14/20 Page 24 of 29 PageID: 1250




             the dates, locations, and attendees
             (whether in person or remote) of any
             such proffers.
 8.          Communications between DOJ and L&T         Further limited to
             Construction pertaining to the subject     communications related
             matter of the Allegations and L&T          to the investigation and
             Construction’s cooperation with DOJ.       interview of Schwartz.



      5. Scope of category (b) requests

      The more general requests for information (category (b)) I will deal with in
a separate ruling which will be partially or completely sealed as appropriate.
      6. Procedure
      The procedure going forward shall be in accordance with the Order. See
pp. 27–28, infra.
      III.   Miscellaneous requests from the Rule 16 motion (DE 79)
             A. Evidence of other corrupt payments
         Defendants seek to compel the prosecution to produce evidence
related to other payments made to government officials in India that are
not subject to the indictment. The prosecution responds that it has
already provided all it has. (R. 16 Gov. Opp. at 18-19). To this,
Defendants respond that the prosecution ought to (1) “identify
specifically what other allegedly corrupt payments were made, because
the summary records it has produced are not clear on this point” and (2)
“identify the specific individual payments and other documents and
information it has produced relating to them.” (R. 16 Def. Brf. at 10-11).
         The prosecution represents that its production has been
complete. That Defendants consider the information to be unclear does
not mean that the prosecution has not satisfied its discovery obligations.
As to specifically identifying the individual payments, Defendants cite to
two out-of-circuit cases requiring the government to identify the Brady
material within the discovery it has already produced. (R. 16 Def. Reply


                                        24
 Case 2:19-cr-00120-KM Document 96 Filed 09/14/20 Page 25 of 29 PageID: 1251




at 11). But those cases involve the needle-in-a-haystack scenario—i.e.,
voluminous discovery in which any exculpatory information cannot be
identified with reasonable effort. Here, the prosecution has identified a
small collection of relevant documents. (See R. 16 Gov. Opp. at 18). Here,
the request would seem to serve no further purpose than pinning down
the prosecution and creating grounds for further motion practice. The
prosecution has been forthcoming and is expected to remain so, but it is
not required to analyze and organize this information to the Defendants’
satisfaction.
         Accordingly, the motion to compel further discovery relating to
other corrupt payments is denied.
                B. Expert information
         Defendants seek to compel information regarding potential
expert witnesses and the subject matter about which they will testify.
The prosecution responds that it has not yet determined what experts, if
any, it will call as witnesses. I will require that the parties confer on a
schedule for the exchange of expert-related discovery, sufficiently in
advance of trial to permit the filing of any Daubert motions and the
retention of rebuttal experts if appropriate. Should they be unable to
agree, I will resolve any scheduling disputes.
                C. Technical deficiencies in production
         Defendants move to order the prosecution to cure various
technical deficiencies in its productions, arguing that the prosecution is
obligated to provide discovery in a reasonably usable form. The
Government responds that it has done all it can to resolve these issues,
including seeking assistance from the parties that originally produced
the materials. In their reply brief, Defendants state that they will
endeavor to resolve these issues without intervention from the court. (R.
16 Def. Reply at 13). Counsel have been cooperative thus far, and I will
therefore reserve judgment on this issue.


                                         25
 Case 2:19-cr-00120-KM Document 96 Filed 09/14/20 Page 26 of 29 PageID: 1252




              D. Withholding of non-privileged materials
          Defendants request that the prosecution produce certain
materials that Cognizant has withheld on the basis of privilege. They
suspect that Cognizant is improperly withholding information that is not
in fact subject to privilege. The Government responds that it has given
the defendants all the information it possesses regarding Cognizant’s
invocation of privilege.
          Here, the Defendants’ only legal argument is that the
prosecution cannot blind itself to potentially discoverable evidence. True
enough, but the principle does not extend so far as to deputize the
prosecution to press privilege arguments on the Defendants’ behalf. 14
              E. Potential impeachment evidence
          Defendants argue that the prosecution should turn over all
evidence in its possession that might be used to impeach or undermine
he testimony of its witnesses. They specifically call attention to immunity
agreements that the prosecution entered into with certain potential
witnesses. (R. 16 Def. Brf. at 14). The Government responds that it will
turn over such Giglio material in advance of the final pre-trial conference.
That is actually in excess of the usual requirements in this district, and
should provide more than ample time for its use in cross-examination,
even in this complex matter.
              F. Information regarding a prosecution witness
       Defendants seek further information regarding a particular potential
prosecution witness. The prosecution disclosed to the Defendants that it
believed Cognizant’s counsel had conducted additional interviews of this
witness. It represents, however, that it does not possess any materials relating

14     Defendants request that the prosecution turn over materials related to an order
for disclosure of records in relation to an email account. (R. 16 Def. Reply at 14 n. 7). I
cannot fairly rule on a request in a footnote to their reply brief. It seems that the
Defendants want to check whether the application was appropriately granted,
although it is not clear that they would have standing to suppress the results if it were
not.

                                            26
 Case 2:19-cr-00120-KM Document 96 Filed 09/14/20 Page 27 of 29 PageID: 1253




to such an interview. In their reply, Defendants state they will address the
issue in forthcoming discovery motions. Accordingly, relief is denied, subject to
whatever further facts Defendants may bring to the Court’s attention.


                                   ORDER

         IT IS THEREFORE this 14th day of September, 2020

         ORDERED that the defense motions (DE 72, 73, 79) are decided
as follows:

         A. The Rule 16 Motion to Compel (DE 79) is GRANTED IN
              PART AND DENIED IN PART, insofar as it seeks
              information in the possession of the SEC, in accordance with
              the foregoing Opinion. Within five days, counsel shall confer
              as to the identity and number of witnesses and report the
              results of such discussions in a filed joint letter, which shall
              also propose three alternative dates for a hearing. Subject to
              any objections and conditions at the time, the hearing will be
              held by video.
         B. The Rule 16 Motion to Compel (DE 79) is otherwise DENIED,
              insofar as it seeks the following miscellaneous relief:
                 a. disclosure evidence of other, uncharged corrupt
                    payments;
                 b. immediate disclosure regarding potential expert
                    witnesses, as such discovery will be exchanged in due
                    course;
                 c. cure of various technical deficiencies in the
                    government’s production, which appear likely to be
                    resolved without Court intervention;
                 d. disclosure of materials related to Cognizant’s
                    assertions of privilege;
                 e. immediate disclosure of potential impeachment

                                         27
Case 2:19-cr-00120-KM Document 96 Filed 09/14/20 Page 28 of 29 PageID: 1254




                evidence, which will be produced in due course;
             f. disclosure of information, not in the government’s
                possession, relating to additional interviews of a
                particular witness;

             all in accordance with the foregoing Opinion.

       C. The applications of Defendants Schwartz and Coburn for
          issuance of Rule 17 subpoenas are GRANTED IN PART AND
          DENIED IN PART, in accordance with the foregoing Opinion.
             a. Within five days, the defense shall present to the court
                redrafted document subpoenas, confined to category (a) and
                narrowed in accordance with the rulings above. If they are
                acceptable, the court will direct service forthwith.
             b. The subpoenas shall be made returnable before the Court on
                October 20, 2020 at the earliest. They shall state that a
                personal appearance is not required, and that the
                subpoenaed party may comply by delivering the responsive
                items to the Court, which will arrange for distribution to
                counsel for the parties.
             c. The subpoenas shall contain a notice that any motion to
                quash must be filed five days before the return date, and
                that the recipient is not thereby relieved of the obligation to
                produce timely such items as to which it has not moved to
                quash.
             d. After receipt of the documents and resolution of any
                motions to quash, the defense may file a Garrity
                motion to suppress. In any such suppression motion,
                the defense shall proffer affidavits in lieu of direct
                testimony of witnesses, and shall attach copies of
                documents it expects to offer in evidence at a hearing.
             e. The hearing will be scheduled for a date convenient for

                                      28
Case 2:19-cr-00120-KM Document 96 Filed 09/14/20 Page 29 of 29 PageID: 1255




                all parties. Subject to any objections and conditions at
                the time, the hearing will be held by video.



                                   /s/ Kevin McNulty
                                   ____________________________________
                                   Kevin McNulty
                                   United States District Judge




                                    29
